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                  Exhibit 3
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                                                                                                        screenshot-www.facebook.com-2017-11-29-12-13-24-802
                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155156643781025
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                                                                                                        screenshot-www.facebook.com-2017-11-29-12-13-02-059
                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155143910436025
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                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155078119786025
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                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155142508281025
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                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155172865036025
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                                                                                        https://www.facebook.com/officialvillagepeople/posts/10155018216616025
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                                                                                        https://twitter.com/NamoInExile/status/923997594979913729
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